
PER CURIAM.
*1282After careful and thorough review, we affirm as to all but one issue raised in this appeal. We agree that the trial court erred in failing to include in its written sentencing order that Appellant, a juvenile at the time he committed the crimes of first-degree murder and armed burglary, is entitled to a judicial review of his sentence. Accordingly, we reverse only as to that issue and remand solely for entry of a corrected judgment and sentence providing for a judicial sentence review hearing after twenty-five years from the date of his original sentencing in accordance with section 921.1402(2)(a), Florida Statutes (2018). See Robinson v. State , 249 So.3d 791, 792 (Fla. 5th DCA 2018).
AFFIRMED IN PART, REVERSED IN PART, AND REMANDED WITH INSTRUCTIONS.
LAMBERT, EDWARDS and GROSSHANS, JJ., concur.
